Exhibit 1
(Page 48   of    160)




                                                        1vEW YORK LIFE INSURANCE COMPANY
                                                          S 1 Medison Avenue, New York, NY 10010
                                         NEW YORK LIFE INSURANCE AND ANNUITY
                                                                                            CORPORATION
                                                            (A Delaware Corporation)
                                                   S 1 Madison Avenue, New York, NY 10010
                                               NYLIFE INSURANCE COMPANY OF ARIZONA
                                                            (An Arizona Corporatipn)
                                             4343 N. Scottsdale Road, Suite 220, Scottsdale, AZ
                                                                                                85251



                                                                    AGENT'S CONTRACT
                                                                      (Form N9 - 01/06)


                     Age~it: Jonathan C. Jones

                 Address: Redacted
                                                                                            Dublin                  GA               3 2021
                         (Street)
                                                                                            (City)                  (State)          (Zip)
                 General C3ffice:~ ~tra Geo~~ia X04
                                                                                 _    ~,
                 Effective

                           New York Life Insurance Company, New York Life Insura
                 Company of Arizona (hereinafrer collectively `'New York                    nce and Annuity Corporation, and NYLIFF Insurance
                                                                                Life") hereby authorize the Agent named above (hereinafter
                 Agent"), to solicit applications for individual life insura                                                                    "the
                                                                             nce policies, individual annuity policies, individual healt}►
                 policies, group insurance policies, and group annuity                                                                     insurance
                                                                          policies, a!1 on such plans as are issued by New York Life
                 and place such applications are obtained. It is mutually                                                                at the time
                                                                              agreed that this authority to act as a soliciting agent of New
                 Life is granted by New York Life and accepted                                                                                 York
                                                                         by the Agent upon the following limitations, terms,
                 conditions:                                                                                                        provisions and

                           The Agent shall conduct the Agents business with New
                                                                                      York Life through the General Office named above until
                          further written notice from New York Life. 'Che Agent
                                                                                      shall have no authority to solicit applications or conduc
                           business in any jurisdiction unless New York Life and                                                                t
                                                                                        the Agent are duly licensed under the laws of such
                          jurisdiction to seU such business and act as such solicit
                                                                                    ing agent, respectively. The Agent shall have no exclus
                          right to solicit applications in any territory.                                                                    ive

                2.        The Agent shall have no authority for or an behalf of New
                                                                                      York Life to accept risks of any kind, to make, modify
                          or discharge contracts, to extend the time for paying any
                                                                                       premium, to bind New York Life by any statement,
                          promise or representation, to waive forfeitures or any of
                                                                                    New York Life's rights or requirements, or to place New
                          York Life under any legal obligation by any act which not
                                                                                 is    within the authority granted by New York Lifa in this
                          contract or otherwise in writing.

                3.        The Agent is authorized to collect premiums on behalfof
                                                                                  New York Life only as follows:
                          (a)   In connection with each applica#ion obtained by the Agent,
                                                                                              including any supplementary application, the
                                Agent may collect an amount not exceeding the full
                                                                                        first premium for the policy applied for, or not
                                exceeding the single premium if a single premium policy
                                                                                         is applied for, but only if the Agent delivers to the
                                applicant in exchange therefor the coupon receipt attach
                                                                                         ed to the application and corresponding therewith
                                in date and number; and

                         (b)    if the full first premium is not paid when the applic
                                                                                      atia~ is taken, the Agent shall collect any unpaid
                                balance of all premiums due New York Life as of the delive
                                                                                           ry date; and




                                                                                                                          11227u42v1 (01/06)
(Page 49   of   160)




                        (c)    In the interval between the dates on the application and delivery, the Agent may collect an amount equal to
                               the unpaid balance or the first fill premium, by using the proper amendment to the application provided by
                               the Company; and

                        (d)    In connection with a change of, the conversion of, the reinstatement of, or the addition of a rider to, an in-
                               force policy, the Agent may collect the amount charged the policyowner by New York Life for completing
                               the change, conversion, reinstatement or addition; and

                        (e)    The Agent may collect an amount equal to the premium in advance in accordance with the Company's
                               rules; and

                        (f}    The Agent may collect, consistent with the Company's policy, subsequent premium payments (non-cash)
                               and additional non-cash deposits for insurance and annuity products.

                        Except as authorized above, the Agent shall have no authority io receive or collect for New York Life any
                        premiums or other moneys due or to become due to it.

                 4.     All moneys received by the Agent for or on behalf of New York Life shall be received by the Agent in a fiduciary
                        capacity, and shall not be used for any personal or other purpose whatsoever but shall be immediately paid over to
                        New York Life. When requested by New York Life to do so, the Agent shall advise New York Life, in writing,
                        with respect to the circumstances under which the Agent delivered any policy and, with respect to any policy
                        given to the Agent for delivery on which New York Life has not received any premium, whether the policy has
                        been delivered ar remains in the Agent's possession and whether the Agent has collected any premium on the
                        policy.

                 S.     Neither the term "Agent'(used in this Agent's Contract solely for convenience in designating one of the parties)
                        nor anything contained in this Agent's Contract or in any of the rules or regulations of New York Life shall be
                        construed as creating the relationship of employer and employee between New York Life and the Agent. Subject
                        to the provisions of this Agent's Contract and within the scope of the authority granted by this Agent's Contract,
                        the Agent, as an independent contractor, shall be free to exercise the Agent's own discretion and judgment with
                        respect to the persons from whom the Agent will solicit applications, and with respect to the time, place, method
                        and manner of solicitation and of performance under this Agent's Contract. The Agent agrees not to engage in
                        conduct that will affect adversely the goad standing or reputation ofNew York Life. Furthermore, the Agent:

                       (a} Shall be treated as an independent contractor for all purposes, including but not limited to federal and state
                           ta~cation, withholding (other than Federal Insurance Contributions Act(FICA}taxes required for full time life
                           insurance agents pursuant to Section 3121(D)(3) of the Federal Internal i2evenue Code), unemployment
                           insurance and workers' co►npensation;

                       (b) Shall be paid a commission based on his/her safes activity, without deduction for tomes (other than PICA
                           taxes required for full time life insurance agents pursuant to Section 3121(D)(3) of the Federal Internal
                           Revenue Code), which commission shall ba directly related to sales or other output;

                       (c) Shall not receive any remuneration related to the number of hours worked;

                       (d) Shall be permitted to work any hours that the Agent chooses;

                       {e) Shall be permitted to work out of the Agent's office or home,or a New York Life General Office; and

                       (~ May be provided with office facilities, clerical support, and certain supplies, but Agent shall otherwise bear
                          Agent's own expenses, including but not limited to automobile, travel and entertainment expenses.

                       New Xork Life shall comply with the provisions of this Section S and any regulations pertaining thereto, but such
                       compliance shall not affect Agent's status as an independent contractor nor should it be construed as an indication
                       that Agent is an employee ofNew York Life.

                6.     7'he Agent hereby (a) acknowledges receipt of the Agent/Registered Representative's I-landbook (hereinafter
                       "Handbook"), and agrees to observe and abide by the limitations of authority and the rules specified in or issued
                       as supplements to the Handbook that apply generally to Agents of New York Life;(b) agrees Ehat the Agent's
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(Page 50   of   160)




                         rights to receive commissions and service fees as provided in this Agent's Contract shall be further subject to the
                         rules relating to commissions and service fees as contained in the Handbook, or other published New York Life
                         rules; and (c) agrees that, under the circumstances stated an the Handbook,the Agent shall be liable for payment of
                         the fees, charges and payments specified in the Handbook. The agreements contained in this Section 6 shall
                         extend to any changes or additions to said limitations and rules, whether published in a new Handbook or
                         otherwise given to the Agent by written notice, but no rule hereafter adopted shall be construed so as to restrict the
                         Agent's right to direct and control the Agent's work in performance of this Agent's Contract.

                         The Agent agrees to comply with New York Life's published rules relating to continuing education and agrees
                         that New York Life may amend such rules from time to time.

                 8.     To the fullest extent allowed by law, the Agent agrees to reimburse New York Life for all attorney's fees, costs,
                        expenses, losses, damages and liability of every kind which New York Life may at any time incur or pay on
                        account of

                        (a) Any claim arising from or related to any misconduct, error, act or omission, or other unauthorized act by the
                            Agent or any of the Agent's employees.

                        (b) Any breach by the Agent of any terms or provisions of this Agent's Contract or any ofNew York Life's
                            procedures, rules or guidelines.

                        (c) Any assignment, garnishment, attach3nent or other legal process or order ofany kind arising from or related to
                            this Agent's Contractor any other agent's contract.

                       (d) The Agent's failure, upon termination ofthis Agent's Contract pursuant to Sections 10 or 11 hereof, to
                           immediately turn over to the Company all client files, whether in paper, electronic, or any other format.

                        New York Life is hereby given a paramount and prior lien upon all compensation payable under or as a result of
                        this or any previous agent's contract and under any and all agreements amendatory or supplementary to this
                        Agent's Contract as security for the payment of any claim or indebtedness or reimbursement whatsoever due or to
                        become due to Ne~v York Life from the Agent without limitation of New York Life's other legal or equitable
                        remedies as regards such indebtedness or reimbursement, including, but not lirrtited to, the right to charge interest
                        and to recover the cost of any collection and attorney's fees. Any sums becoming due to the Agent at any time
                        may be applied, directly, by New York Life to the liquidation of any indebtedness or obligation of the Agent to
                        New York Life, but the failure to so apply any sum shall not be deemed a waiver of New York Life's lien on any
                        other sums becoming due nor impair its rights to so apply such sums.

                10.    Either the Agent or New York Life may, with or without cause, terminate this Agent's Contract upon written
                       notice, said termination to become effective thirty days after the day on which such notice is dated.

                11.    In addition to the right of New York Life to terminate this Agent's Contract as provided in Section 10 above, New
                       York Life shall have the right, at its option, to terminate this Agent's Contract for cause immediately upon giving
                       written notice of such termination to the Agent, for any one or more of the following:

                       (a)    The collection or receipt by the Agent of any moneys for or on behalf of, or due or to become due to, New
                              York Life except as authorized in Section 3 above.

                       (b)    Any unauthorized appropriation to the Agent's own use and purpose of any money or other property
                              received by the Agent for or on behalf of New York Life or received by the Agent for the benefit of a
                              person other than the Agent.

                       {c)   The submission to New York Life by the Agent of any document on which any required signature is not a
                             genuine or duly authorized signature.

                       (d)   Any withholding by the Agent of any policy or document after such policy or document shall have been
                             demanded by the New York Life.




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(Page 51   of   160)




                        (e)     Any act of the Agent by which the Agent, directly or indirectly, sells or offers to sell to any person or
                                persons, policies issued by New York Life at any deviation from the published rates of New York Life as
                                furnished to the Agent by New York Life from time to time.

                        (fj     A violation by the Agent of the anti-rebate or improper inducement laws of any state or jurisdiction.

                        (g)    A violation by the Agent of any federal or state law, rule or regulation or the rules or regulations of any
                               other regulatory authority.

                        (h)     A violation by the Agent of any of New York Life's policies, procedures, rues or guidelines.

                        (i)    Revocation or suspension by any state or jurisdiction of the agent's license to act as a soliciting agent, or, if
                               applicable, as a registered representative or investment advisor representative.

                        The above-listed grounds for termination are for illustrative purposes only and shall not serve to limit the grounds
                        upon which a "for cause" terrnination may be based.

                 L2.    Any failure of New York Life in any instance to terminate this Agent's Contract when cause for such termination
                        exists, or to insist upon compliance with any of the limitations, terms, provisions and conditions of this Agent's
                        Contract, shall not be construed as a waiver of any of New York Life's rights or of any such limitations, terms,
                        provisions and conditions, or of the right of New York Life to thereafter enforce its rights or insist upon such
                        compliance.

                 13.    (a)       In the course of the Agent's performing his/her duties as a New York Life agent, New York Life may
                         disclose to the Agent, the Agent may have or be given access to, or the Agent may develop, certain confidential
                        information, proprietary information and/or trade secrets of New York Life (hereinafter collectively, "Confidential
                        Inforrnaiion"). Unless otherwise excluded in this provision, Confidential Information shall mean any and all
                        information provided by New York Life to the Agent or to which the Agent has or is given access, in whatever
                        form, verbal or otherwise, including, but not limited to, customer and prospective customer information and data
                        (including, but not limited to client lists and files}, equipment, material, records, supplies, manuals, business plans,
                        marketing plans, financial records and analyses, rate books, marketing-sales-pricing data, forms, lists, files, data,
                        designs, reports, research, technical specifications, agreements, proprietary information, trade secrets and
                        intellectual property whether or not identified as "Confidential Information," in whatever media, electronic or
                        otherwise, and any other materials identified in writing as "Confidential Inforrnation."

                       (b)     The term "Confidential Information" shall not apply to information that:

                               (i) has been legally in the Agent's possession prior to its disclosure to the Agent by New York Life and is
                                   not subject to any non-disclosure obligations;

                               {ii) has become part of the public domain through no fault of the Agent;

                               (iii) has been developed s~bseyuent to, and independent of, disclosure to the Agent by New York Life; or

                              (iv} has been released in writing by New York Life for public disc}osure, or is otherwise deemed by New
                                   York i,ife, in writing, to no longer be confidential.

                       (c)    The Agent will not, without the prior written consent of New York Life, remove from New York Life's
                              premises, copy or disclose Confidential Information to any third party, or otherwise jeopardize the
                              confidential nature of the Confidential Inforn~ation, and the Agent will not use New York Life's
                              Confidential Information other than for the purposes of performing the duties specified in this contract.
                              The Agent will hold all Gonfidentiat Information in strictest confidence, and such Confidential Information
                              will not be copied, reproduced or altered either in whole or in part by any method whatsoever, unless
                              agreed upon in advance and in writing by an executive officer of New York Life.

                       (d)    Upon the voluntary or involuntary termination of this Agent's Contract for any reason, including but not
                              limited to the Agent's resignation or retirement, the Agent agrees to immediately surrender to New York
                              Life or its designer the original and any copies, notes, recordings, transcriptions or nny other reproductions
                              of Confidential Information, in any form whatsoever, regardless of whether or not the Agent has retained it
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(Page 52   of   160)




                              in his/her personal possession. The Agent's obligations hereunder regarding Confidential Information
                              shall survive the return of such Confidential Information or the voluntary or involuntary termination of this
                              contract. Both during the term of this Agent's Contract and after its termination, the Agent also agrees not
                              to divulge Confidential Information to, share such information with, or permit access to it by, any
                              individual or organization not then currently engaged or employed by New York Life.

                14.    (a)    Within any jurisdictions) in which the Agent, during the term of this Agent's Contract, has been licensed
                              to sell insurance, annuities or securities for New York Life or any of its subsidilry or affiliated companies,
                              and during and for eighteen (18) months following the voluntary or involuntary termination ofthis Agent's
                              Contract for any reason, including but not limited to the Agent's resignation or retirement:

                              {i) The Agent will not in any way directly or indirectly advise, induce or assist any customer of New
                                  York Life or any of its subsidiary or affiliated companies, be it a person, a company or an
                                  organization, to reduce, replace, lapse, surrender, cancel or otherwise relinquish any insurance,
                                  annuities or securities products obtained from or through Ne~v York Life or any of its subsidiary or
                                  affiliated companies; nor will the Agent in any way directly or indirectly make use of any
                                  Confidential information (as that term is defined in Section 13 hereof in order to enable a third party
                                  not associated with New York Life to advise, induce or assist any customer of New York Life or any
                                  of its subsidiary or affiliated companies, be it a person, a company or an organization, to reduce,
                                  replace, lapse, surrender, cancel or otherwise relinquish any insurance, annuity or securities products
                                  obtained from or through New York Life or any of its subsidiary or affiliated companies.

                             (ii) The Agent will not in any way directly or indirectly induce or assist in any way in the inducement or
                                  attempted inducement of, any agent or employee of New York Life to leave New York Life or in any
                                  way modify his/her relationship with New York Life; nor will the Agent directly or indirectly, hire or
                                  contract with, or cause others to hire or contract with, any employees or agents of New York Life; nor
                                  will the Agent directly or indirectly, participate, encourage or assist in the hiring or contracting
                                  process for any other company of any employees or agents of New York Life.

                             (iii) The Agent will promptly inform New York Life of the identity of any of his or her subsequent
                                   employers (whether the Agent is engaged as an independent contractor or employee) which are
                                   engaged in the business of insurance, along with the Agent's new title and a description of the
                                   Agent's new position; and the Agent hereby authorizes New York Life to present a copy of this
                                   Agreement to any such employer.

                       (b)   Without prejudice to whatever other recourse New York Life may have in the event that the Agent violates
                             any provision of Sections 13 or I4 hereof, including without limitation, an action in damages, New York
                             Life shall have the right to obtain equitable relief where necessary to prevent violations of Sections 13 or
                             14 hereof. Such relief shall include, but not be limited to, temporary restraining orders and temporary or
                             preliminary injunctions. The Agent hereby acknowledges that, in the event of any such violation, New
                             York Life will suffer irreparable harm and that an injunction is therefore a necessary remedy under the
                             circumstances.

                15.    (a)   The Agent and New York Life agree that any dispute, claim or controversy arising between them,
                             including those alleging employment discrimination (including sexual harassment and age and race
                             discrimination) in vio3ation of a statute (hereinafter "the Claim"), as well as any dispute as to whether such
                             Claim is arbitrable, shall be resolved by an arbitration proceeding administered by the NASD in
                             accordance with its arbitration rules.

                       (b)   (n the event that the NASD refuses to arbitrate the Claim, the Agent and New York Life agree that the
                             Claim, as well as any dispute as to whether such Claim is arbitrable, shall be resolved by an arbitration
                             proceeding administered by the American Arbitration Association (hereinaRer"AAA"}in accordance with
                             its National Rules for the Resolution of Employment Disputes (hereinafter"NRRED"). The arbitration
                             shall be conducted at a location designated by AAA, which location shall be within fifty(50) miles of the
                             New York Life General Office to which the Agent is or was most recently assigned. If the amount ofthe
                             claim is $50,000 or less, exclusive of extracontractual, extracompensatory, punitive and exemplary
                             damages, the dispute shall be heard by one arbitrator appointed in accordance with the NRRED. [f the
                             amount of the claim exceeds $50,000, exclusive of extracontractual, extracompensatory, punitive and
                             exemplary damages, athree-person arbitration panel shall hear the arbitration with one arbitrator being
                             selected by each party and the third, who shall act as chairperson, appointed in accordance with the

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(Page 53   of   160)




                                 NRRED. After the panel of three arbitrators has been selected for the case, the parties may agree to have
                                 one of the arbitrators serve as the single arbitrator who will hear the case.

                        (c)      In either event, within thirty(30) days, the arbitrators) shall issue a written decision explaining the basis
                                 for their decision and/or award. Judgment upon the written award rendered by the arbitrators) may be
                                 entered in any court of competent jurisdiction.

                        (d)     Exclusive of Claims alleging employment discrimination (including sexual harassment and age and race
                                discrimination) in violation of a statute, the costs and expenses of the arbitrators for any arbitra#ion shall be
                                split evenly between the Agent and New York Life.

                        (e)     Notwithstanding the other provisions of this Section 15, New York Life shall be entitled to seek judicial
                                reliefof an equitable nature from any court ofcompetent jurisdiction where necessary to prevent violations
                                of Sections 13 or 14 hereof. Such relief shall include, but not be limited to, temporary restraining orders,
                                and temporary or preliminary injunctions.

                 16.    IfNew York Life is successful in any proceeding or suit against the Agent to enforce any provision Sections 13 or
                        14 hereof, or brought to establish damages sustained by New York Life as a result ofthe Agent's violation of any
                        provision of Sections 13 or 14 hereof, the Agent agrees to reimburse New York Life for legal fees and other
                        expenses incurred by or on behalfofNew York Life relating to or in connection with enforcing the terms of
                        Sections 13 or 14.

                 17.    Except for the right to receive commissions, the rights, interests and claims of the Agent against New York Life
                        arising under or growing out of this Agent's Contract are not assignable, and no assignee shall acquire any rights
                        thereto, without the written consent of New York Life. The right to receive commissions under this Agents
                        Contract may be assigned without the written consent of New York Life, but New York Life must receive
                        reasonable proof of such assignment before it commences payment to an assignee. [n no event shall New York
                        Life be obligated to make a payment to an assignee that is prohibited by applicable law. The rights of an assignee
                        under any assignment to which consent has been or may be given or to an assign►nent of the right to receive
                        commissions,sha11 be subject to the paramount and prior Tien given to New York Life by Section 9 above.

                 18.    Commissions on Individual Life Insurance, Individual Heatth Insurance and Individual Annuity Policies—
                        New York Life shall pay to the Agent, subject to all the limitations, teens, provisions and conditions of this
                        Agent's contract, commissions on premiums received by New York Life under individual life insurance,
                       individual health insurance and individual annuity policies issued as a result of applications obtained by the Agent
                       while this Agent's Contract is in force, such commissions being at the applicable rates and for the policy years, or
                       portions thereof, and under the rules and conditions as specified for agents operating under Agent's Contract
                       (Form N9) in New York Life's schedules of first year and renewak commission rates in force at the time the
                       applications are obtained unless specified otherwise, in writing, by New York Life. A copy of such schedules will
                       be available for tl,e Agent's inspection at any reasonable time at the General Office named above. New York Life
                       reserves the right to change compensation, in whole or in part, at any time by giving written notice to the Agent
                       and the new rates, policy years, rules and conditions will apply as set forth in the schedules.

                       On all types and plans of individual life insurance, individual health insurance and individual annuity policies that
                       New York Life may issue and that are not included in the schedules of first year and renewal commission rates, or
                       although included in such schedules are issued under special underwriting terms and conditions, the commissions
                       shall be such as shall be designated in writing by a duly authorized Executive Officer of New York Life.

                19.    Service Fees on Individual Life and individual Health insurance Policies—New York Life shalt pay to the
                       then current agent of record, subject to all the limitations, terms, provisions and conditions of this Agents
                       Contract, service fees on premiums received by New York Life under individual life and individual health
                       insurance policies, such service fees being at the applicable rates and for the policy years, or portions thereof, and
                       under the rules and conditions as specified for agents operating under Agent's Contract(Form N9) in New York
                       Life's schedules of first year and renewal commission rates in force at the time the policy applic2tions are obtained
                       unless specified otherwise, in writing, by New York Life.

                       A service fee will be paid to the then current agent of record only if, at the time the fee is payable,
                       (a} the policy for which the fee is payable is in force, and

                                                                        - 6-                                            #227042 v I (Ol/06)
;Page 54   of   160)




                               (b)      the agent of record is ope
                                                                     rating under an Agent'
                                                                                                    s Contract with New York
                                                                                                                                   Life, and
                               (c)      the agent of record is
                                                                   servicing the policy in
                                        Life. New York Life's                                    a manner satisfactory to
                                                                      decision shall be controlli                             both the poiicyowner and
                                        in a satisfactory manner                                       ng in any dispute as to                               New York
                                                                     .                                                           whether service is being
                                                                                                                                                              provided
                     20.         Compensation on Gr
                                                           oup Insurance Polici
                                 Agent, subject to all                                 es, and Group Annuity
                                                         the limitations, terms, pro                                   Policies—New York
                                 premiums received by                                     visions and condition                                 Life shall pay to the
                                                            New York Life under                                     s of this Agent's Contra
                                 York Lifa wider group                                   group insurance polici                                 ct, compensation on
                                                            annuity policies effected                                 es and on considerations
                                while ihis Agent's Contra                                   upon applications obtain                                received by New
                                                              ct is in force. The am                                      ed through the solicitation
                                New York Life's compen                                    ount of such compensat                                         of the Agent
                                                             sation rates and rules                                    ion wil! be determined
                                compensation rates and                                      in force at the time suc                             in accordance with
                                                            rules will be available                                       h policy takes effect.
                                Office named above.                                       for the Agent's inspec                                     A copy of such
                                                                                                                     tion at any reasonable tim
                                                                                                                                                     e at the General
                                New York Life reserv
                                                         es the right to change
                               Agent, and the new rat                                compensation, in whole
                                                          es, policy years, rules                                   or in part, at any time wit
                               becomes effective after                                and conditions will app                                     hout notice to the
                                                          any such change takes                                    ly to premiums received
                                                                                       effect.                                                  on coverage which
                               Compensation with res
                                                           pect to (a) group ins
                              replacements, and (b)                                      urance additions, extens
                                                        group insurance underwrit                                       ions, liberalizations, rei
                              whole or in part, by ano                                   ten joinily by New Yo                                       nstatements or
                                                           ther insurer or by New                                   rk Life and another insure
                              Life's rules and regula                                      Yo rk  Life, shall be determine                        r or  reinsured, in
                                                        tions, whether published                                               d in accordance with Ne
                              change or underwriting                                     or unpublished, wUich                                               w York
                                                        ,                                                             are in effect at the time
                                                                                                                                                   of the addition,
                  21.        Should New York Lif
                                                       e, in its sole discretio
                             premium on which the                                n, deem it appropriate at
                                                        Agent received any pay                                   any time to cancel a pol
                            constitute an indebtedn                                   ment, such payment sha                                  icy and refund any
                                                       ess of the Agent to New                                      g be charged back to the
                                                                                      York Life and may be deb                                    Agent and shalt
                                                                                                                     ited against the Agent'
                 22.        Any commissions payabl                                                                                             s ledger.
                                                          e under this Agent's Con
                            account, as they beco                                         tract after the Agents
                                                     me due, and be payabl                                              death shall be credited
                           therefrom of any indebt                               e to the Agent's execut                                           to the Agent's
                                                       edness or ohli~ation of the                            ors, administrators or ass
                                                                                         Agent to New York Life.                            igns after deduction
                23.        Nothing in this Agent'
                                                      s Contract, or any amen
                           printed literature or for                                dment or supplement to
                                                      ms of New York Life sha                                       this Agent's Contract,
                          judgment in acting up                                      ll impair New York Lif                                   nor in any of the
                                                    on any application for an                                     e's right to the full and
                          any commission for sub                                     insurance or annuity pol                                free exercise of its
                                                      mitting any application                                      icy; acid the Agent sha
                          York Life.                                                 upon which no insurance                                ll have no right to
                                                                                                                     or annuity policy is eff
                                                                                                                                                ected with New
              24.         Written notice to the Age
                                                       nt under this Agents Con
                         may be given by mai                                          tract or any amendment
                                                 l or by publication in any                                          or supplement to this Age
                         means, except that a not                                  official publication or                                        nt's Contract
                                                     ice under Section I0 or                                   bulletin of New York
                         If the written notice to                                 Section 1 ]above shall not                             Life or by any other
                                                   the Agent is given by mai                                         be given by means ofsuc
                         mailed to the test know                                  l, it shall be deemed to                                        h publication.
                                                   n post office address of                                     have been given when dul
                        it shall be deemed to hav                                the Agent, postage prepai                                     y addressed and
                                                     e been given whenever                                       d, If such notice is giv
                                                                                  published as above.                                       en by publication,
            25.         This Agent's Contract sha
                                                      ll take effect as of the
                        and countersigned on beh                                 effective date stated on
                                                     alf of New York Life.                                     Aage 1 hereof, if duly sig
                                                                                                                                             ned by the Agent
            26.        The provisions of this
                                                  Agent's Contract shall
                       event that any provision                                be cottsidered severable
                                                   ofthis Agent's Contract                                    and independent of eac
                       of this Agent's Contract                                   is found to be invalid or                               h other and in the
                                                   sha11 remain in full for                                      unenforceable, the remain
                                                                               ce and effect.                                                  ing provisions
           2'7.       To the fullest extent all
                                                   owed by law, this Agent'
                      with the laws of the Sta                                     s Contract shall be govern
                                                 te of New York withou                                               ed by and interpreted
                      and AAA decline to arb                                  t regard to conflict of law                                      in accordance
                                                 itrate any dispute hereun                                      rules. In the event tha
                     this Agent's Contract con                                   der in accordance with                                   t both the NASD
                                                    sents to the exclusive jur                                 Section i5 hereof, eac
                     state of New York for any                                      isdiction and venue of                               h of the parties to
                                                      action arising out of thi                                  the state and federal
                     New York Life to pro                                          s Agents Contract, except                              courts within the
                                              tect, preserve ar~d/or rea                                             such action as may be
                                                                           lize its interest in the                                            necessary by
                                                                                                       Agent's assets located in
                                                                                                                                    another jurisdiction.
                                                                             - 7-
                                                                                                                                 #227042 v1 (Ot/oG}
Page 55   of   160)




                       28.       At the Agent's expens
                                                          e, the Agent shall obt
                                New York Life-Spo                                 ain and maintain err
                                                      nsored Professional                                ors and omissions ins
                                not less than $1 millio                      Liability Policy or an                                 urance coverage from
                                                         n per occurrence/$3 mil                     "A"-rated insurance                                       the
                                of the end of the Age                             lion annual aggregate                        carrier in an amount equ
                                                        nt's First Contract Ye                            . This coverage must                              al to
                                Agreement with New                              ar or at the time the                               be obtained by the ear
                                                        York Life's affiliated                          Agent enters into a                                   lier
                               remains in effect. If                            bro ker-dealer and must be                       Reg istered Representative'
                                                       the Agent is not enroll                                mai nta ine d as                                   s
                               Agent must purchase                              ed in the New York                             Long as this Agent's Con
                                                       at his/her expense an                          Life-Sponsored Profes                                tract
                               policy that covers at                           extended reporting                                 sional Liability Policy
                                                      least five years if: i)                       period endorsement to                                   , the
                              and omissions covera                            this Agent's Contract                             his/her errors and omi
                                                      ge is terminated or                              is terminated for any                            ssions
                              acts. New York Lif                           cancelled and not rep                                 reason; or ii) his/her
                                                     e reserves the right to                       laced with comparab                                   errors
                             notice to the Agent.                             change the amount of                          le coverage that includ
                                                     Failure to comply wit                             required coverage at                           es prior
                             this Agent's Contract.                          h this provision wiU con                            any time by giving wri
                                                                                                      stitute grounds for                                  tten
                                                                                                                              the immediate terminati
                                                                                                                                                          on of
                    29.      The first Contract Ye
                                                     ar under this Agent'
                            stated on Page 1 her                            s Contract will commen
                                                   eof and wilt end in the                             ce on the effective dat
                            said effective date.                             next succeeding year on                               e in the calendar mont
                                                   Each subsequent Con                                  the last day of the cal                               h
                            ending in each succee                         tract Year shall be a                                    endar month specified
                                                     ding year on the last                        per iod of twelve (12) con                                 in
                           all purposes of the Ag                           day of the calendar mon                              secutive calendar mo
                                                    ent's association wit                            t}i so specified. It                               nths
                           by the Agent while an                            h New York Life that                             is understood and agreed
                                                     y Introductory Contra                          any policies effected                                  for
                           Contract, shall be deem                           ct was in force immedi                            upon applications obtain
                                                      ed to have been obt                            ately prior to the eff                                 ed
                                                                           ained during the first Con                          ective date of this Age
                                                                                                      tract Year, as define                            nt's
                   30.    The following Sectio                                                                                  d above.
                                                   ns shall survive termin
                          l 3, 14, 1 S, 16, 27 and                          ati on of this Agent's Contra
                                                    28.                                                     ct by either party for
                                                                                                                                      any reason: 8, 9, 12,
                  IN WITNESS WIiE
                                          REOF, the parties to
                  hereof.                                          this Agent's Contract
                                                                                            have subscribed their
                                                                                                                      names hereto and to
                                                                                                                                               a duplicate
                  Witnessed by
                                                                                                                ~>
                                                                                                                s~
                                                                                                                Agent
                                                                                      NBW YORK LIFE IN
                                                                                                               SURANCE COMPAN
                                                                                     NEW YORK FIFE IN                                    Y
                                                                                                               SURANCE AND
                                                                                       ANNUITY CORPOR
                                                                                                               ATION
                                                                                     NYLIP~ INSURANC
                                                                                                              E COM}'ANY OF AR
                                                                                                                                        CZONA
                                                                                      ~~




                                                                                    Mark W.Pfaff
                                                                                    Senior Vice President
           Countersigned by Ne                                                                            -A    gency
                                w York i.ife
           Insurance Company,
                               New York Life
           Insurance and Annuit
                                y Corporation and
           NYLIF Insurance Co
                                 mpany of Arizona
          one
                                                 ~~
          by
                                                               y, ;~
          Title              ~'      . A"~~ ✓




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